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               Exhibit L
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language

  and, conj.1, adv., and n.1
Pronunciation: Brit.                /and/,     /(ə)n(d)/, U.S.       /æn(d)/,        /(ə)n(d)/
  Forms:
  α. OE–ME ond, OE– and, eME ad (transmission error), eME anð (rare), ME ande, ME ant, lME yand; Scottish pre-
  17 andd, pre-17 ande, pre-17 17– and, pre-17 ond.

  β. eOE aend, OE–eME ænd, OE–eME 16 end, lOE ænde, eME ent.

  Frequently represented by the abbreviations ⁊ (in Old English and Middle English), &, +. See also                          conj. and n.In this
  dictionary the Old and Middle English Tironian note ⁊ is usually printed as &.
  Frequency (in current use):
  Origin: A word inherited from Germanic.
  Etymology: Cognate with Old Frisian ande , and , an , end , en (West Frisian en ), Old Dutch ende , inde , en , in
  (Middle Dutch end , ende , inde , en , etc., Dutch en , †ende ), Old Saxon anda , ande , ende , endi , en (Middle Low
  German unde , (rare) ende , German regional (Low German) un ), Old High German anti , endi , enti , indi , inti , unde ,
  unti , etc. (Middle High German unde , und , unt , German und ), and also Old Icelandic en , enn , Old Danish æn (Danish
  end ), both in sense ‘but’, further etymology and semantic development uncertain and disputed (see note). The β. forms
  show i-mutation, as do parallel forms with initial e or i in the other Germanic languages. The variation in several
  Germanic languages between forms with initial a, e, and i on the one hand and forms with initial u on the other is
  probably due to the coexistence of distinct ablaut variants from early times, rather than (as has sometimes been
  suggested) to reduction of the initial vowel in unstressed position.
  The form ant occurs in a gloss to a scribble in a 9th-cent. continental manuscript, but probably reflects no more than unfamiliarity with Old
  English on the part of the scribe (see N. R. Ker Catal. MSS containing Anglo-Saxon (1990) Suppl. Apparently no. 40).


  The form yand shows development of an initial j -glide.


  Many senses of the English conjunction are paralleled in other West Germanic languages. In North Germanic languages the usual word for
  ‘and’ is a cognate of      adv.


  The ulterior etymology of the word as well as its precise semantic development are uncertain. Most scholars appear to agree with the view
  expressed in N.E.D. (1884) that ‘from the idea of opposition, juxtaposition, or antithesis, the word was used in the Germanic languages to
  express the mutual relation of notions and propositions’, and assume a development from an adverb or a preposition with originally locative
  sense to a conjunction, comparing the following prepositions and adverbs in other Indo-European languages: ancient Greek ἀντί (see             -
  prefix), classical Latin ante (see     - prefix), Sanskrit anti (adverb) near. In this case, the conjunction would derive ultimately < the same
  Indo-European base as          n. However, there seems to be no general agreement as to whether the abovementioned words are in fact cognates
  of the Germanic word, and if no secure cognates are attested outside Germanic, statements about the semantic development of the word within
  Germanic risk circularity. Some scholars have considered Tocharian B entwe ‘then, thereupon’ a cognate, and on this basis suggested a
  derivation of the Germanic conjunction < the Indo-European base of        prep. (with additional suffix); however, this is very doubtful, as the
  Tocharian B word is only securely related to Tocharian A antuṣ in same sense, but the further etymology of both Tocharian words is uncertain
  and disputed. For a detailed discussion of the semantic development of the word in West Germanic, see further R. Lühr in Münchner Studien
  zur Sprachwissensch. 38 (1979) 117–54, who agrees with the majority view on both the ulterior etymology of the word and its semantic
  development.


  With numerals of the type one and twenty (see sense A. 1b) compare this type of composition in other Germanic languages, e.g. Old High
  German fiarzug inti sehso forty-six, Middle High German einz und drīzic thirty-one, German einundzwanzig twenty-one, Old Icelandic einn
  ok tuttugu (also tuttugu ok einn ) twenty-one, etc.

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  In sense A. 4 perhaps after classical Latin et..et.., Anglo-Norman and Old French e..e.., Old French, Middle French, French et..et.. (end of the
  11th cent.).


  With sense A. 6a compare French il y a..et.. in the same sense (1667 or earlier, especially in il y a fagots et fagots ‘there are bundles and
  bundles’ ( ‘Molière’ Le médecin malgré lui (1667) I. v)); although the use by Molière has sometimes been considered the model of the English
  one, this could only be true of later uses, given the considerably earlier attestation of this sense in English. Compare also post-classical Latin
  ribaldi sunt et ribaldi ‘there are ribalds and ribalds’ (in an undated source in Du Cange) (see          n. for the meanings of this word, which
  are perhaps being played on here).


  In later uses in Irish English and Scots in sense A. 9b apparently influenced by similar constructions with Irish agus (or Scottish Gaelic agus )
  followed by the subject and (where a verb is required) a verbal noun rather than a finite verb.


  Normative usage guides have frequently criticized the use of and at the beginning of a sentence (seen especially in sense A. 11a), as well as
  supposedly over-frequent use of the conjunction in general.


  Branch A. II. (the conditional use) probably represents a native semantic development from the use as coordinating conjunction, although the
  details are unclear. Scandinavian influence has sometimes been suggested, but is unlikely: although similar uses in the senses ‘if’ and ‘even if’
  are attested for Old Icelandic enda ‘and indeed, and moreover, and yet, although, if, even if’ (probably < the Germanic base of          conj.1, adv.,
  and n.1 + the Germanic base of            adv., conj., and n.) as well as for the cognate Old Icelandic en , enn , early quots. for the conditional use
  do not come from areas with close contact between English and Scandinavian languages. Middle High German unde , unt has also been
  compared to the English conditional use, but although it does occur introducing conditional clauses, its precise meaning and function in such
  instances are hard to pin down, so much so that it has been suggested that it may lack any tangible lexical meaning and merely serve to
  emphasize the beginning of a subordinate clause (see H. Paul et al. Mittelhochdeutsche Grammatik (ed. 24, 1998) §445). In later use, the
  conditional use is usually treated as a distinct word and spelt an (see     conj. and discussion at that entry).


  The conditional use is not securely attested before the late 13th cent. Dict. Old Eng. (at cited word, sense B.1) records a handful of possible
  earlier examples, all of which may arguably be better interpreted either as examples of the simple sense ‘and’ or as scribal errors; compare the
  following (and see further Dict. Old Eng.):

  OE tr. Bede Eccl. Hist. (Corpus Cambr.) . ix. 408 Wæron eac ða gyt oðre folc manig in ðam ylcum dælum hæðenum þeawum þeowigende, to
           ðam se foræspre[ce]na Cristes cempa ymbliþendra Brytene utan cuman wolde, & [eOE Tanner gif, OE Otho gif, OE Cambr. Univ. Libr.
           gif] wen wære [L. siquos forte] þæt he þær hwylce mihte deofle oðgripan & to Criste gecyrran.
  OE Æ           Homily (Corpus Cambr. 188) in B. Assmann Angelsächsische Homilien u. Heiligenleben (1889) 40 Swa is eac on lichaman se
           læssa man betere, swa swa Zacheus wæs, mid gesundfulnysse, þonne se unhala beo and hæbbe on his wæstme Golian mycelnysse, þæs
           gramlican entes.
  lOE Anglo-Saxon Chron. (Laud) (Peterborough interpolation) anno 675 Ic wille & tyðe þet hwilc man swa haued behaten to faren to Rome
           and he ne muge hit forðian, ouðer for untrumnisse..ouðer for hwilces cinnes oðer neod he ne muge þær cumon,..cume to þet mynstre on
           Medeshamstede & haue þet ilce forgiuenesse of Criste & Sancte Peter & of þone abbot & of þone muneca þet he scolde hauen gif he to
           Rome fore.
  a1225 (▸?OE) MS Lamb. in R. Morris Old Eng. Homilies (1868) 1st Ser. 23 And þah an castel beo wel bemoned mid monne and mid
           wepne, and [perh. understand þeh] þer beo analpi holh þat an mon mei crepan in, Nis hit al unnet?


  In use as adverb (sense B.) after classical Latin et in similar use.


  The existence of a prepositional use of Old English and , ond with the dative, posited by 19th-cent. scholars and exemplified by N.E.D. (1884),
  is no longer accepted. Presumed senses were given by N.E.D. as ‘before, in presence of’ and ‘by the side of, besides, along with, in addition to’.
  However, the examples cited are better interpreted as instances of a reverse spelling of ⁊ (the Tironian note) for on       prep. (compare use of
  on for ond : see      conj.), or, in the case of the examples from Menologium, as instances of the conjunction in simple connective use following
  a preposition governing the dative (see further Dict. Old Eng. (at cited word, sense E) and B. Mitchell Old Eng. Syntax (1985) §§571, 1739):



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  eOE K        Æ        tr. Gregory Pastoral Care (Hatton) (1871) xxxviii. 277 Hit bið todæled & [eOE Junius on] to monigfealda spræca.
  eOE K        Æ        tr. Boethius De Consol. Philos. (Otho) xxix. 67 Hwylc is wirsa wol oððe ænegum men mare daru þonne [he] hæbbe on his
           geferrædenne & on h[i]s neaweste feond & [read on] freondes anlicnesse [L. familiaris inimicus]?
  OE Genesis A (1931) 13 Hæfdon gleam & dream, & [read on] heora ordfruman, engla þreatas, beorhte blisse.
  OE Menologium 188 Swylce wigena tiid ymb twentig þæs twegra healdað and fif [read seofon] nihtum samod ætgædere on anne dæg.
  OE Menologium 211 Þænne embe eahta niht and feowerum þætte fan gode besenctun on sægrund sigefæstne wer.


  However, such a prepositional use is attested in several other Germanic languages; compare Old Frisian and , ande , anda , end , ende in, Old
  Saxon ant until, Gothic and along, through, over (in an isolated attestation); see also   - prefix and compare discussion at that entry.


   A. conj.1
   I. Coordinating. Introducing a word, phrase, clause, or sentence, which is to be taken side by
  side with, along with, or in addition to, that which precedes it.
   * Connecting words.
   1.

   a. Simply connective.
       and all: see       adj., pron., n., adv., and conj. Phrases 15.
       When two noun phrases connected by and form the sentence subject, the verb is normally plural (in Old
       English, if the verb preceded such a compound subject it could be singular); but cf. sense A. 1d.


     eOE (Northumbrian) C         Hymn (Cambr. Kk.5.16) 2 Nu scylun hergan hefaenricaes uard, metudæs
           maecti end his modgidanc.
     eOE Anglo-Saxon Chron. (Parker) anno 871 Þæs ymb                          niht gefeaht Ęþered cyning & Ęlfred his broður
          wiþ þone here æt Basengum.
     ?a1160 Anglo-Saxon Chron. (Laud) (Peterborough contin.) anno 1137 Þa namen hi þa men þe hi wenden ðat
           ani god hefden..carlmen & wimmen.
     c1275 (▸?a1200) L ȝ                  Brut (Calig.) (1963) 3000 Sorwen & kare.
     a1325 (▸c1250) Gen. & Exod. (1968) l. 485 Twin-wifing ant twin-manslagt Of his soule beð mikel hagt.
     c1325 (▸c1250) Prov. Hendyng (Harl.) l. 15 in K. Böddeker Altengl. Dichtungen (1878) 288 Wyt ant
           wysdom lurneþ ȝerne.
     a1425 (▸a1382) Bible (Wycliffite, E.V.) (Corpus Oxf.) (1850) Gen. i. 1 Heuene and erthe.
     c1449 R. P              Repressor      . v. 303 Mete and drinke, hous and clooth.
     1486 Bk. St. Albans sig. ej The Fox and the Martron, and the wilde Roo.
     1509 S. H            Pastime of Pleasure (1928) xxx. 147 My herte and mynde she had so tane in cure.
     1578 J. L          Euphues f. 52 A suruayour and ouerseer of his mannors.
     1607 G. M                 First Pt. First Bk. Eng. Arcadia 141 The great and dreadfull Goddesse of Fortune.
     a1616 S                    Comedy of Errors (1623) . i. 170 My Master and his man are both broke loose.
     a1635 T. R         Muses Looking-glasse . iv. 79 in Poems (1638) I had rather..haue his twelve
          Godvathers, good men and true contemne him to the Gallowes.
     1711 R. S            Spectator No. 2. ⁋1 Both in Town and Country.
     1769 B. F        Let. 9 Jan. in W. B. Willcox Papers of Benjamin Franklin (1972) XVI. 16 The Virginians
          have apply'd to King, Lords, and Commons.
     1846 G. G             Hist. Greece I. . i. 62 The immortal food, nectar and ambrosia.
     1859 T                 Elaine in Idylls of King 209 The bond of man and wife.
     1920 E. W                Age of Innocence . xxiv. 241 They lunched slowly and meditatively.
     1958 J. S                Temiar Jungle ii. 25 ‘Greetings, Tuan!’ His voice is quiet and gentle.


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     2005 C. T      Secret Life Trees xiv. 380 Animals that can move quickly and easily do not need to adapt
          genetically.



   b. Used to connect the unit numbers with the tens when they precede (now
  regional and old-fashioned), but not when they follow, as one and twenty,
  ‘twenty-one’; to connect (units or) tens to hundreds (or thousands), as two
  hundred and one, three thousand and twenty-one, six thousand two
  hundred and fifty-six; to connect fractions to wholes, as four and a half, a
  pound and three quarters, an hour and twenty minutes, also (in the British
  pre-decimal currency) with shillings and (fractions of) pence, as three and
  sixpence (colloquially three and six).
       and connecting units or tens to hundreds or thousands is frequently omitted colloquially in North
       American usage.
       and is not usually used with different denominations of weights and measures, as two pound(s) ten
       shillings (or two pound ten); four pound(s), six ounces; five foot, six inches; nor when expressing the
       time by placing the minutes after the hour, as nine forty-eight (48 minutes past nine).


     OE (Northumbrian) Lindisf. Gospels: John xxi. 11 Rete..plenam magnis piscibus centum quinquaginta
          tribus : þæt nett..full mið miclum fiscum uel of miclum fiscum hunteantig & fiftig ðriim uel ðreo.
     OE Coronation of Edgar (Parker) 18 And him Eadmundes eafora hæfde nigon and                                 ..wintra on worulde.
     ?a1160 Anglo-Saxon Chron. (Laud) (Peterborough contin.) anno 1137 xx wintre & half gær & viii dæis.
     a1325 (▸c1250) Gen. & Exod. (1968) l. 657                  hundred ger and fifti told, Or or he starf, noe was old.
     ▸ a1398 J. T        tr. Bartholomaeus Anglicus De Proprietatibus Rerum (BL Add. 27944) (1975) II.         .
           cxxix. 1381 Þe stadial feld conteyneþ sixe score paas and fyue, þat is sixe hundred foote and fyue and
           twenty. And eiȝte suche makeþ a myle.
     a1425 (▸a1400) Prick of Conscience (Galba & Harl.) (1863) 4554 When þai haf liggen dede..Thre days and
           an half.
     a1425 (▸a1382) Bible (Wycliffite, E.V.) (Corpus Oxf.) (1850) Gen. v. 20 Al the daies of Jared ben maad
           nyne hundrid ȝeer and two and sixti... Forsothe Enok lyued fyue and sixti ȝeer [1611 Nine hundred sixtie
           and two yeeres;—sixtie and fiue yeeres].
     1535 Bible (Coverdale) Psalms xc. 10 The dayes of oure age are iij. score yeares & ten.
     1673 J. R      Observ. Journey Low-countries 3 We..at a League and halfs end came to a Lock.
     1712 R. S          Spectator No. 431. ⁋2 I am now entering into my One and Twentieth year.
     1787 J. B           Scoticisms 95 The twentieth and first verse of the hundredth fortieth and fifth psalm.
     1839 T                Let. 23–31 Dec. (1945) I. 405 We shall be obliged to pay one and eightpence as usual.
     1893 T. R. R. S       Hist. Crustacea xxiii. 372 It attains a length of three inches and a half by a breadth of
          an inch and three-quarters, and is, therefore, one of the monster Isopods.
     1952 T. A            Adam Brunskill xi. 372 The smelters..were demanding an increase upon the standard
          rate of six and eightpence a ton.
     1969 S. D      Larn Yersel Geordie 23 Ye knaa Ned and four and twenty o' Haaks's men went oot t' the war
          agyen the French.
     1995 K. T          Rebel Hearts (1996) i. 4 The death toll is three thousand and something now.
     2000 J. G              Danny Boy iii. 59 Having been on the run for precisely eight hours and twenty minutes.



  †c. Used in expressing two dimensions of space: by. Obsolete.

     ?1677 S. P            City & Covntry Purchaser & Builder 64 The principal Rafters being nine and seven inches.
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   d. Used to connect two numbers to indicate that they are being added
  together. Cf.     prep. 1a.
       Frequently treated as a unitary subject with singular verb.
       two and two make four: see        n. 1a.


     1695 J. C            Misc. upon Moral Subj. 80 The..Notion..is as clear as that Two and Two makes Four.
     1711 J. A           Spectator No. 126. ¶2 We do in our Consciences believe two and two make four.
     1807 T. Y          Course Lect. Nat. Philos. II. 1/2 Thus one and one compose two, 2 + 1 = 3, 3 + 1 = 4, or 2 + 2
          = 4.
     1867 G. H. L     Hist. Philos. (ed. 3) I. Prolegomena iii. p. lxiv The terms ‘three and three’ and ‘six’ denote
          the same relations, connote different ideas.
     1875 W. D. W              Life & Growth of Lang. 279 Mathematics began with the apprehension that one and
          one are two.
     1984 A. S          in G. Ursell More Saskatchewan Gold (1984)           . iii. 325 What if one and one wasn't two?



   e. With ellipsis of second element in certain predictable or regular
  combinations (now rare); spec. (a) the second of two articles of food or
  drink commonly served together (see also coffee and n. at           n.
  Compounds 2; cf.          prep. 26b(b)); (b) (Poker) (perhaps) the second of
  two pairs in a hand; (c) (Tennis) a second score equal to the first given;
  game and: one game all; (also) game and set.

     1742 H. F             Joseph Andrews I. . xv. 104 She then asked the Doctor and Mr. Barnabus what Morning's
             Draught they chose, who answered, they had a Pot of Syder-and, at the Fire.
     1875 ‘M. T      ’ Sketches New & Old 74 His last act was to go his pile on ‘Kings-and’..when there was a ‘flush’
           out agin him.
     1899 ‘M. T       ’ Man that corrupted Hadleyburg 100 He saw my deuces-and with a straight flush, and by
           rights the pot is his.
     1938 R. L. R       Mark Twain Lexicon 6/7 Neither ‘kings-and’ nor ‘deuces-and’ is explained in any
          dictionary, and neither combination seems to be any longer in use. Present day poker experts..are far
          from agreed in their interpretations. With this emphatic use of ‘and’ compare the common American
          tennis expressions ‘game-and’ and ‘thirty-and’ for what the British call ‘game-all’ and ‘thirty-all’; also
          the still more familiar Americanism ‘ham-and’ for a restaurant order of ham and eggs.
     1948 J. B              Sel. Poems 114 Harold serves again... ‘Game..AND! and thank you!’



  f. and/or (also and or): a formula denoting that the items joined by it can
  be taken either together or as alternatives. Cf.   - n. and adj..

     1855 Law Jrnl. Reports 24 . Excheq. 199/2 The parties were to ‘load a full and complete cargo of sugar,
             molasses, and/ or other lawful produce’..the words ‘and’ and ‘or’ being introduced into the charter-party.
     1895 F. P            & F. W. M               Hist. Eng. Law I. . v. 152 In medieval Latin vel will often stand for and...
             Often it is like the and/ or of our mercantile documents.
     1916 H. B           Aeroplane Speaks ii. 85 The jamming of the rudder and/or elevator.
     1929 Penrose's Ann. XXXI. 99 A good proportion of cotton and/or linen in the furnish of a paper.

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     1941 Official Gaz. Kenya 13 May 305/2 Applicants are at liberty to submit their own proposals and/or
          programmes for the prospecting, development, and/or mining of the Owour Area.
     1960 E. B     Time in Rome iii. 82 The young set-apart creature, waiting at home for her fifteenth birthday
          and/or the next vacancy in the Atrium.
     1998 N. L            How to Eat (1999) 68 Grate in a cooking apple and or a quince.



   2. Connecting each of three or more members (sometimes used to
  emphasize the number of points or length of the series). Now chiefly
  colloquial or literary.
       In ordinary prose and is expressed only with the last member.


     OE W          Sermo ad Anglos (Nero) (1957) 273 Her syndan mannslagan & mægslagan & mæsserbanan &
         mynsterhatan; & her syndan mansworan & morþorwyrhtan; & her syndan myltestran & bearnmyrðran
         & fule forlegene horingas manege.
     c1325 (▸c1300) Chron. Robert of Gloucester (Calig.) l. 79 Of lincolne, & of chestre, & ek of wrcestre.
     c1390 (▸a1376) L                  Piers Plowman (Vernon) (1867) A.    . 273 Loue and louhnesse and leute to-
           gedere.
     1480 C      Chron. Eng. cxcii. 168 Al tho that myghte trauaylle, as wel monkes and preestes and frerys and
          chanons and seculeres.
     c1540 (▸?a1400) Gest Historiale Destr. Troy 1395 Þat was cumly and clene and a kinges doughter.
     a1616 S                  Julius Caesar (1623) . ii. 80 Warnings and portents, and euils imminent.
     1774 D. H         Let. 4 June (1932) II. 291 The child has a great deal of salt, and spirit, and humour.
     1805 S         Lay of Last Minstrel . xiii. 138 Sorrow, and sin, and shame.
     1820 K     Ode to Nightingale in Lamia & Other Poems 108 Dance, and Provençal song, and sunburnt
          mirth!
     1846 G. G          Hist. Greece I. . i. 62 Dance and song and athletic contests adorned the solemnity.
     1952 S. K          Philanderer (1957) x. 163 He began tenderly to kiss her cheeks and her eyes and her
          temples and her throat.
     1994 C. D      Daughters of Cain (1995) lxii. 341 All the arches and whorls and loops, all the peaks and the
          troughs and the ridges, had ever remained a deep mystery to him.
     2005 New Yorker 5 Sept. 129/2 A chai cookie—something with cardamom and cinnamon and vanilla and
          cloves and a soft dairy note.

   3. Connecting occurrences of the same member, expressing continuous repetition.

   a. Expressing the repetition of numerical groups. Esp. in two and two: by
  twos, two and then another two and so on, two preceded and followed by
  two continuously. Now archaic and rare.

     OE West Saxon Gospels: Mark (Corpus Cambr.) vi. 7 He..him twelfe togeclypode, & agan hi sendan twam &
         twam.
     c1275 (▸?a1200) L ȝ               Brut (Calig.) (1978) 12351 Æuer tweie and tweie tuhte to-somne.
     a1325 (▸c1250) Gen. & Exod. (1968) l. 2323 He gan hem ransaken on and on.
     a1400 (▸a1325) Cursor Mundi (Vesp.) l. 1713 Ȝee sal..tak..Beist and fouxul..þe meke be þam ai tua and tua.
     a1500 (▸a1460) Towneley Plays (1897–1973) 356 I lefe it you bi oon and oone.
     1587 T. S             True Discr. Voiage Tripolie sig. Bivv Wee were cheaned three and three to an oare.


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     1598 S                  Henry IV, Pt. 1    . iii. 90 Falst. Must we all march? Bar. Yea, two, and two, Newgate
             fashion.
     1630 J. W                 Eng. Spanish Pilgrime (new ed.) v. 38 Putting foure and foure to an oare.
     1690 R. S               True Relation Cruelties French 10 We Mest our selves seven and seven together.
     1722 D. D           Jrnl. Plague Year 128 The Ships..rid two and two in the middle of the Stream.
     1832 T               Lady of Shalott , in Poems (new ed.) 12 The knights come riding, two and two.
     1891 W. M             Poems by Way (1898) 16 Across the stubble acres now the teams go four and four.
     1938 A. L. M      Nicholas Ferrar viii. 204 The three masters in their black gowns..followed by the boys,
          two and two.



   b. Expressing repetition to an indefinite extent: originally and frequently
  with comparative adjectives and adverbs, with certain adverbs of time,
  manner, degree, etc. (as for ever and ever, over and over, through and
  through), and with verbs; also more recently with units of time, space,
  capacity, etc. (as miles and miles ‘miles and yet more miles, miles upon
  miles, miles without number’).

     OE Seven Sleepers (Julius) (1994) 45 And æfre swa hi near and near eodon, hi fundon ælcne stan on oðerne
          befegedne.
     lOE Anglo-Saxon Chron. (Laud) anno 1085 Aa hit wyrsode mid mannan swiðor & swiðor.
     ?c1200 Ormulum (Burchfield transcript) l. 206 Ice amm gabriæl Þatt æfre & æfre stannde. Biforenn godd.
     a1225 (▸?OE) MS Lamb. in R. Morris Old Eng. Homilies (1868) 1st Ser. 49 (MED) Heo delueð
           deihwamliche..deoppre and deoppre.
     ?c1225 (▸?a1200) Ancrene Riwle (Cleo. C.vi) (1972) 213 Þer waxeð wunde & deopeð intowart þe
           saule..forðre & forðre.
     c1450 (▸c1380) C                 House of Fame (Fairf. 16) (1878) l. 818 Euerych ayre other stereth More and
           more.
     1558 T. P           tr. Virgil Seuen First Bks. Eneidos . sig. F.ij In vain I cald and cald.
     a1586 S      P. S         Arcadia (1590) . i. sig. B3 A thing which floted drawing nearer and nearer to the banke.
     1600 S                  Henry IV, Pt. 2 . i. 33 I haue borne, and borne, and borne.
     1609 S                  Troilus & Cressida    . vii. 140 Ile kill thee euery where, yea ore and ore.
     1748 S. R                 Clarissa VI. xxx. 98 Lord M...turning round and round..his..thumbs.
     1781 R. B. S              Trip to Scarborough . i, in Wks. (1883) 296 Oh, this is better and better!
     1820 S              To Skylark in Prometheus Unbound 201 Higher still and higher.
     1823 B         in E. Elliott Giaour in Love, a Poem 151 I have..lived for months and months on shipboard!
     1843 D              Christmas Carol i. 34 Many and many a day.
     1856 C. M. Y     Daisy Chain . xiv. 133 She..rhapsodized to her heart's content, talking faster and faster,
          and looking more and more excited.
     1894 J. D. A           Fifty Years of my Life I. 166 We were all wet through and through.
     1938 Amer. Home Jan. 16/1 Such a floor lasts for years and years.
     1954 Househ. Guide & Almanac (News of World) 88 Nature's impenetrable limit to man's quest for greater
          and greater speed.
     1970 J. D           Deliverance iii. 153 Bobby tumbled out of the rapids, rolling over and over on the slick rocks.
     2003 Church Times 12 Dec. 11/2 This story will, I fear, run and run.



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  †4. In correlative constructions, as the introductory correlative. and..and:
  both..and. Obsolete.

     a1225 (▸?OE) MS Vesp. in R. Morris Old Eng. Homilies (1868) 1st Ser. 239 (MED) Se hlaford..cumþ forte
           isi and frend and fend.
     1340 Ayenbite (1866) 145 (MED) We byeþ alle cristene ine one cristenedome, and riche and poure..God of
          huam we hyealdeþ alle and body and zaule and al þet we habbeþ.
     c1440 W. H       Mixed Life (Thornton) in G. G. Perry Eng. Prose Treat. (1921) 31 Þou sall be made and
           bryghte and clene.
     1483 C      tr. J. de Voragine Golden Legende 242/4 To thende that he wold not leue them and disheryted
          and orphanes he made his testament.



   5. Connecting two adjectives, or an adjective and an adverb, of which the
  former logically stands in (or approaches) an adverbial relation to the latter;
  esp. after fine, good, nice. Cf. good and at       adj. 12c, main and —— at
             2                                                             1
        adj. 4d, nice and —— at         adj. 14b, rare and —— at       adj. 5d.
  Now colloquial and regional.

     a1475 in J. O. Halliwell Early Eng. Misc. (1855) 79 If hit be holdynge togedere as gum-wex, than hit is good
           and fyne.
     1561 T. H        tr. B. Castiglione Courtyer . sig. T.ii v Upon this the gentilman beeinge somwhat vexed..tooke
             the kinge in his hande whiche was good and bigg..and reached the Ape a great knocke on the heade.
     ?1578 W. P           Let. Entertainm. Killingwoorth 82 I am..iolly & dry a mornings.
     1612 H. P            Gentlemans Exercise . xxvi. 104 Scrape it good and hard with a knife.
     1796 F. B      Camilla II. . vii. 390 Just read this little letter, do, Miss, do—it won't take you much time,
          you reads so nice and fast.
     1846 D. J            Mrs. Caudle ii. 6 You'll be nice and ill in the morning.
     1866 E. Y        Land at Last I. . vi. 112 Flexor was fine and buffy when he came home last night.
     1905 G. H. L            Old Gorgon Graham 220 Just as he got good and ready to strike, I pasted him one in
          the snoot.
     1923 W. S. M              Our Betters . 30 I thought you'd like me to look nice and clean.
     1943 D. W        They were Sisters iii. 50 Your Auntie Lucy'll be fine and cross with you for slopping all that
          water over the floor.
     1999 F. M C       'Tis ii. 12 If this is the way they eat all the time in America I won't be a bit hungry and I'll
          be fine and fat, as they say in Limerick.

   6. Emphatically.

   a. Expressing a difference of quality between things of the same name or
  class; = and also, and other.

     a1569 A. K         Conf. containing Conflict with Satan 39 in Most Excellent & Comfortable Treat. (new
          ed.) (1578) There is a sinne and a sinne: much oddes betweene the committing of sinnes in the
          reprobate and the elect.
     1633 E      M                   Al Mondo: Contemplatio Mortis (rev. ed.) 82 A heart and a heart God cannot
          abide.

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     1855 R. B              Heretic's Trag. in Wks. (1863) I. 289 Alack, there be roses and roses, John!
     1883 W. P             in Harper's Mag. 909/1 There are, in the first place, photographs and photographs.
     1938 A. R          Fear & Relig. vii. 95 Some shrinking from death..there must be... But there is fear and fear.
     1991 Oxf. Jrnl. Legal Stud. 11 440 All human conduct is determined or caused. But there are causes and
          causes.



  †b. Opposed to or. Obsolete. rare.

     1837 T. C           French Revol. I.     . ix. 384 He can answer only, Yes or No; would so gladly answer, Yes and
          No.

   ** Connecting coordinate clauses or sentences.
   7. Simply connective.

   a. Additive.

     eOE Anglo-Saxon Chron. (Parker) anno 534 Her Cerdic forþferde, & Cynric his sunu ricsode forþ
          wintra.
     OE West Saxon Gospels: Matt. (Corpus Cambr.) ii. 20 Aris & [c1200 Hatton ænd] nim þæt cild & his modor.
     a1225 (▸?c1175) Poema Morale (Lamb.) 159 in R. Morris Old Eng. Homilies (1868) 1st Ser. 169 Þer men
           luȝen her ent stelen.
     c1275 (▸?a1216) Owl & Nightingale (Calig.) (1935) l. 31 [Þ]e niȝtingale hi iseȝ..& þuȝte wel wl of þare hule.
     c1400 (▸?c1390) Sir Gawain & Green Knight 308 He coȝed ful hyȝe, Ande rimed hym ful richly, & ryȝt hym
           to speke.
     c1503 R. A           Chron. f. lxxxiiijv/2 He was howsled & anelid and Soo died.
     1659 H. L'E         Alliance Divine Offices 152 It was..necessary that they should be washed and cleansed
          before they entered the sacred Font.
     1751 J           Rambler No. 165. ⁋3 The brightest hours of prosperity have their clouds, and the stream of
           life..will grow putrid by stagnation.
     1756 E. B         Vindic. Nat. Society 2 I then thought, and am still of the same Opinion.
     1832 T. C           Reminisc. (1881) I. 9 I have often wondered and admired at this.
     1879 T             Lover's Tale (new ed.) 54 Love mourn'd long, and sorrow'd after Hope.
     1922 J. J    Ulysses 81 He saw the priest bend down and kiss the altar and then face about and bless all the
          people.
     1980 V. S. P              Edge of Cliff 13 He put his book down and went inside.
     2001 S. H        Universe in Nutshell iv. 118 Pairs of virtual particles that appear together at some point of
          spacetime, move apart, and come back together and annihilate each other.



  †b. Adversative: yet, but. Obsolete.

     OE West Saxon Gospels: Matt. (Corpus Cambr.) xii. 7 Ic wylle mildheortnesse & na onsægdnysse.
     ▸ c1300 Havelok (Laud) (1868) 789 (MED) Hauelok was war þat grim swank sore For his mete, and he lay
           at hom.
     ?a1425 (▸c1400) Mandeville's Trav. (Titus C.xvi) (1919) 33 Þei wenen þat þei han bawme & þei haue non.
     1481 C          tr. Hist. Reynard Fox (1970) 65 He complayneth and I playne not.


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     a1500 (▸a1415) J. M           Festial (Gough) (1905) 33 Hor seruandys..gon yn ryche araye, and þay homselfe yn
           pore wede.
     1611 Bible (King James) Matt. xxii. 30 Hee said, I goe sir, and went not.

   8. Introducing a consequence.

   a. Introducing the historical sequel or consequence of a fact.

     OE Æ           Old Eng. Hexateuch: Gen. (Claud.) i. 3 God cwæð ða: Gewurðe leoht, & leoht wæarð geworht.
     1382 W          Genesis i. 3 God seide, Be maad liȝt: and maad is light.
     ?a1475 Ludus Coventriae (1922) 354 (MED) Sche conseyved..and in the fiftene yer sche childyd.
     1591 Troublesome Raigne Iohn . sig. Cv Hastie curres that lie so long to catch, Come halting home, and
             meete their ouermatch.
     1611 Bible (King James) Gen. i. 3 God said Let there be light: and there was light.
     1611 Bible (King James) Luke vii. 8 I say vnto one Goe, and he goeth; and to another Come, and hee
             commeth.
     1667 S. P        Diary 30 June (1974) VIII. 312 A pretty young woman..and I did kiss her.
     1751 J. W          Let. Dec. (1931) III. 320 We talked largely with her, and she was humbled to the dust.
     1758 D. L       Let. 19 Mar. in K. Miller et al. Irish Immigrants in Land of Canaan (2003) 29 The merchant
          ran away, and I had great truble in getting my money.
     1820 K     Lamia , in Lamia & Other Poems 29 You have dismiss'd me, and I go From your breast
          houseless.
     1879 A. C  tr. V. Rydberg Rom. Days 294 A few paces from the trattoria, and I stood on the Forum
          Romanum.
     1954 G. V         Messiah . i. 42 The police chief evidently knew all about him and the conversation was short.
     1966 L. B         How to talk Dirty i. 17 He cashed the bottles and I got my twenty cents.
     2004 R. T          Robert Adam 5 His education was disrupted by illness and he dropped out of university.



  b. Introducing the predicted consequence or fulfilment of a command, or of
  a hypothesis put imperatively, or elliptically.

     OE West Saxon Gospels: Matt. (Corpus Cambr.) viii. 8 Ac cweð þin an word & min cnapa biþ gehæled.
     c1275 (▸?a1200) L ȝ              Brut (Calig.) (1978) 13007 Abideð feouwertene niht, & ich eow wullen suggen
           soðdere wordes.
     c1405 (▸c1390) C                Miller's Tale (Hengwrt) (2003) l. 344 Werk al by conseil and thow schalt noght
           rewe.
     a1425 (▸c1395) Bible (Wycliffite, L.V.) (Royal) (1850) John xvi. 16 A litil, and thanne ȝe schulen not se me.
     1557 Bible (Whittingham) John xvi. 16 A litle whyle, and ye shal not see me.
     1611 Bible (King James) Luke x. 28 This do, and thou shalt liue.
     1754 R. C               Medit. II. 82 O let us but love, as we ought..and we shall be all saints.
     1799 J. T. A              Fortune's Frolic . iii. 15 Gee'us a buss, and I'll tell thee.
     1827 B. D            Vivian Grey IV.     . ii. 76 Five minutes more, and our son must have reigned in Little
          Lilliput.
     1896 A. A          England's Darling       . i. 63 Face a head gust and it will steady you.
     1933 D. L. S          Murder must Advertise iv. 72 Spray with Sanfect and you're safe.



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     1946 R. A. K    Retreat for Priests vii. 69 Drive out nature with a pitchfork..and she will still come back.
          Shut up a beaver in the Zoo, and it will still make dams.
     2004 Managem. Today Dec. 27/1 Bloomer..is on probation: one more mishap and he will be out.

   9.

   a. Introducing an explanatory, amplifying, or parenthetic clause or phrase.
        See also and how! at      adv. 4d, and no mistake at        n. Phrases 3, and no wonder! at
                                              1
        n. 6e, and (good) reason at         n. 6d, and welcome at         adj. 3b.


     OE Charter: Abp. Ealdwulf to Leofenað (Sawyer 1381) in J. M. Kemble Codex Diplomaticus (1845) III. 295
         Leofenað and his twegen yrfewardas æfter him gesyllan ælce geare   leaxas, and þa gode.
     c1275 (▸?a1200) L ȝ                 Brut (Calig.) (1963) 1183 He..hehte hine..makian an eorð-hus..& þat inne swiðe
           feire stude.
     1340 Ayenbite (1866) 102 (MED) Ane halle and uol of uolk.
     c1405 (▸c1387–95) C                    Canterbury Tales Prol. (Hengwrt) (2003) l. 43 A knyght ther was and that a
           worthy man.
     a1500 (▸a1460) Towneley Plays (1897–1973) 313 Into this dongeon depe I soght And alle for luf of the.
     a1616 S                   Tempest (1623) . i. 323 I heard a humming, (And that a strange one too).
     1710 N. R          Jane Shore . i Yet there is one, and he amongst the foremost.
     1790 E. B      Refl. Revol. in France 135 We know, and it is our pride to know, that man is by his
          constitution a religious animal.
     1843 D             Christmas Carol i. 1 Scrooge signed it: and Scrooge's name was good upon 'Change.
     1855 M               Hist. Eng. III. 323 He and he alone has done all this.
     1869 A. M            Open Secret xi. 194 To think that we are, and we only are, to blame.
     1890 F. G     Ven. E. Arrowsmith (C.T.S.) 2 Robert Arrowsmith's father..was often thrown into gaol—and
          we know what gaols were in those days.
     1930 G. K. C          Resurr. Rome v. 202 The French would certainly have recovered the stolen French
          provinces whenever they could; and quite right too.
     1970 Globe & Mail (Toronto) 1 July 7/1 Those earliest settlers..called themselves American Loyalists—and
          rightly, for most of them were second-generation Americans.
     2004 Dazed & Confused Feb. 26 Like all Detroit natives of a certain age—and he's a lot older than he looks—
          Joseph was suckled on Motor City's golden era of Hitsville-honed Motown soul.



   b. Introducing a subordinate clause with different grammatical subject
  from the main clause and either a participle as verb or a complement with
  copular verb understood, expressing the circumstances of the action
                                             1
  described by the main clause. Cf.    pron. 6a. Now regional (chiefly Irish
  English).
        In quot. c1384 perhaps only a literalism of translation.


     c1384 Bible (Wycliffite, E.V.) (Douce 369(2)) John viii. 9 And Jhesu dwelte aloone, and the womman
           stondinge in the myddel [L. et mulier in medio stans].
     c1450 (▸c1400) Bk. Vices & Virtues (Huntington) (1942) 33 Grete officers in lordes houses þat..ȝyueþ
           largely þe goodes of here lordes and not witynge þe lord.
     a1500 in Antiquary (1901) 37 55 (MED) All that lande was ov[e]r cov[e]red with froste and snowe, and no
          man[ne]r of grenes apperyng in no place.

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     1552 R. H      Abcedarium Anglico Latinum sig. Biiii/2 Babblynge to him selfe, and no body present.
          Soliloquium.
     1671 M      Samson Agonistes 1480 Much rather I shall chuse To live the poorest in my Tribe, then richest,
          And he in that calamitous prison left.
     1711 S     Jrnl. to Stella 1 Sept. (1948) I. 349 I envy people maunching and maunching peaches and grapes,
           and I not daring to eat a bit.
     1792 R. B      in J. Johnson Scots Musical Museum IV. 387 How can ye chant, ye little birds, And I sae
          weary fu' o' care!
     1812 M. E                  Absentee II. xi. 18 Which would be hard on us, and me a widow.
     1816 S    Antiquary II. i. 4 Your honour wadna hae us contradict the captain e'en now, and him maybe
          deeing?
     1853 E. C. G     Cranford xiv. 281 When I cried, she took hold of my hand to comfort me; and the
          gentleman waiting for her all the time.
     1916 G. B. S         Pygmalion . i. 113 Why didnt you say so before? and us losing our time listening to your
          silliness!
     1974 J. B. K          Lett. of Love-Hungry Farmer 58 The heart gave out on him and he spreading manure.
     1992 P. M C     Butcher Boy (1993) 157 I seen two of her other wains running about the street last
          night..and them with hardly a stitch on them!



   10. Connecting two verbs, the second of which is logically dependent on the
  first, esp. where the first verb is come, go, send, or try. Cf.      v. 4c,   v.
                1
  30c,        v. 8b,     v. 16b. Cf also      adj., adv., and int. Phrases 7a. Now
  colloquial and regional.
       Except when the first is come or go the verbs in this construction are normally only in the infinitive or
       imperative.


     [OE West Saxon Gospels: Matt. (Corpus Cambr.) viii. 21 Drihten, alyfe me ærest to farenne & bebyrigean
          [c1200 Hatton to farene to beberienne] minne fæder.]
     c1325 (▸a1250) Harrowing of Hell (Harl.) 152 Welcome, louerd, mote þou be, þat þou wolt vs come & se.
     1526 Bible (Tyndale) Mark i. f. xliijv Whos shue latchett I am not worthy to stoupe doune and vnlose.
     1599 in Edinb. B. Rec. 250 [The council] ordanis the thesaure to trye and speik with Jhonn Kyle.
     1671 M            Paradise Regain'd . 224 At least to try, and teach the erring Soul.
     1710 S         Jrnl. to Stella 12 Oct. (1948) I. 53 But I'll mind and confine myself to the accidents of the day.
     1780 M       .T         Let. 10 June (1788) II. 150 Do go to his house, and thank him.
     1811 J. A           Sense & Sensibility III. xi. 238 They will soon be back again, and then they'd be sure and call
           here.
     1878 W. S. J            Polit. Econ. 42 If every trade were thus to try and keep all other people away.
     1887 T. H           Woodlanders I. viii. 153 Promising to send and let her know as soon as her mind was made
          up.
     1925 F. S. F                Great Gatsby ii. 33 Here's your money. Go and buy ten more dogs with it.
     1959 F. O'C      Let. 20 Nov. in Habit of Being (1980) 359 I have been wanting to write and thank you for
          sending back the manuscript.
     1985 J. K            Chancer (1987) 250 The safety helmet's really important, aye, mind and get yourself one.
     2004 A. S            Woman in Bronze 309 He invited Josephine to come and see the plaster.

   *** Introductory.
   11. Continuing the narration.
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  a. Continuing a narration from a previous sentence, expressed or
  understood. Also standing alone as a question: ‘And so?’, ‘And what then?’.

     OE Anglo-Saxon Chron. (Tiber. B.i) anno 856 Ond þa fengon Aþelwulfes sunu                  to rice.
     ?a1160 Anglo-Saxon Chron. (Laud) (Peterborough contin.) anno 1140 & te eorl of Angæu wærd ded, & his
           sune Henri toc to þe rice.
     c1405 (▸c1385) C          Knight's Tale (Hengwrt) (2003) l. 323 And therfore at the kynges court my
           brother Ech man for hymself.
     1485 Malory's Morte Darthur (Caxton) . viii. sig. avi And within xv dayes ther came Merlyn amonge hem.
     1611 Bible (King James) John xxi. 21 Peter seeing him saith to Jesus, Lord, and what shall this man
             do?
     a1616 S                   King John (1623)        . i. 40 Ar. Must you with hot Irons, burne out both mine eyes? Hub.
             Yong Boy, I must. Art. And will you? Hub. And I will.
     1782 F. B            Cecilia II.   . vi. 192 ‘And pray of what sect,’ said Cecilia, ‘is this gentleman?’
     1846 G. G           Hist. Greece I. . i. 53 And thus she remained a whole year.
     1853 C. K              Hypatia I. v. 124 And why could not you run away, boy?
     1861 E. B      -L       Pilgrims of Rhine (beginning) And the stars sat each upon his ruby throne and
          looked with sleepless eyes upon the world.
     1957 E. S. D        Alfred the Great vii. 123 Nothing remained for them but to surrender or to try to make
          their escape. And escape by cunning strategy they did.
     1970 ‘D. H          ’ Dolly & Cookie Bird vii. 107 He went through all the drawers... ‘I feel we ought to view his
           credentials.’ ‘And?’ I said crossly. ‘Clean as a whistle,’ said Johnson.
     1984 R. D         Boy 95 ‘Back it out of the hedge,’ my mother said. ‘And hurry.’



  b. Continuing a narration from the implied assent to a previous question or
  opinion: ‘Yes! and’.

     1591 Troublesome Raigne Iohn . sig. A3v Chatt. And say the message he hath giuen in charge. Iohn. And
             spare not man, we are preparde.
     1623 J. W       Dutchesse of Malfy . v. sig. H3 Let not That trouble him, I had rather haue his heart,
          then his mony. And I beleeue so too.
     1769 I. B           Captive II. iv. 18 Cadi. Ferdinand in disguise!—Now I begin to smell a rat. Ferd. And I
           another that outstinks it.
     1847 A. H          Friends in Council 1st Ser. I. 284 E. ‘It gives new life to politics.’ M. ‘And not to politics only.’
     1853 C. K              Hypatia I. v. 110 ‘You are now to obey me.’ ‘And I will.’
     1906 A. S         Wire Tappers 100 ‘Now, nitro-glycerine I object to, it's so abominably crude.’.. ‘And so
          odiously criminal!’ she interpolated.
     1980 W. H          Duncton Wood (1990) xxi. 306 ‘Now you take care of yourself..and have a good Longest
          Night.’ ‘And you,’ said Rose.



  12. In expressing doubt at, or asking the truth of, what one has already
  heard.
       Frequent in earlier use in verse, esp. in poems of lament or elegy.


     a1542 T. W           Coll. Poems (1969) clxxxvi. 196 And wylt thow leve me thus?
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     1707 I. W          Hymns & Spiritual Songs . cx. 180 And must this Body die? This mortal Frame decay?
     1739 C. W       in J. Wesley & C. Wesley Hymns & Sacred Poems (ed. 2) 74 And can it be, that I should gain
          An Int'rest in the Saviour's Blood!
     ?1770 W. J. M       There's Nae Luck about the House (song) And are ye sure the News is true, And are ye
           sure He's well?
     1774 C. D      Waterman . 9 And did you not hear of a jolly young waterman, Who at Black-friars Bridge
          used for to ply.
     1844 B. D             Coningsby I.    . iii. 273 ‘And you walked here!’ said Lady Everingham.
     1885 R. L. S          & F. S           Epil. of Cigar Divan in More New Arabian Nights 199 ‘And are you
          really the person of the—establishment?’.. ‘A vendor, sir, a vendor,’ returned the other.
     1909 F. L. B            Rosary xxiv. 257 ‘And this pleases you?’ inquired the doctor.
     1982 S. B    Murder Unprompted (1984) v. 49 ‘And you really think I should take it?’ ‘Yes. I can't think
          why you're havering.’

   II. Conditional. Cf.           conj. 2.
   13.

   a. If; suppose that, provided that, on condition that. Now U.S. regional.

     a1225 (▸?OE) MS Lamb. in R. Morris Old Eng. Homilies (1868) 1st Ser. 23 Þah an castel beo wel
           bemoned..mid monne and mid wepne, and þer beo analpi holh þat an mon mei crepan in, Nis hit al
           unnet?
     c1275 (▸?a1200) L ȝ           Brut (Calig.) (1978) 8313 Þat weord þat ich þe sende, bi mine liue ich hit halde;
           & þu hit nult ileuen..ich hit wulle trousien.
     ▸ c1300 Havelok (Laud) (1868) 2862 (MED) And þou wile mi conseyl tro, Ful wel shal ich with þe do.
     c1325 (▸a1250) Harrowing of Hell (Harl.) (1907) 11 Ant he were at þis worldes fyne.
     c1330 (▸?c1300) Guy of Warwick (Auch.) l. 444 Leuest þing me were to dye. & ich wist bi wiche weye.
     ?a1400 (▸a1338) R. M                  Chron. (Petyt) (1996) . 1703 I salle..help þe..& euer I se þat day.
     1484 C       tr. G. de la Tour-Landry Bk. Knight of Tower (1971) xlvi. 68 For and she be wyse she ought to
          thynke to what ende..her counceylle may come.
     1526 Bible (Tyndale) Matt. xix. f. xxvij But and thou wilt entre in to lyfe.
     ?1529 R. H           tr. J. L. Vives Instr. Christen Woman . xii. sig. Ov Let her chaunge her place, or go away, &
             need be.
     a1535 T. M          Dialoge of Comfort (1553) . sig. F.iii Gesse her and you can.
     1547 Certain Serm. or Homilies in J. Griffiths Two Bks. Homilies (1859) . 108 And it please your grace, you
          did once promise me.
     1612 T. S            tr. Cervantes Don-Quixote: Pt. 1 .       . viii. 183 They may tell it and they please.
     a1616 S                  Comedy of Errors (1623) . ii. 94 And you will not sir, Ile take my heeles.
     1625 B         Ess. (new ed.) 137 They will set an House on Fire, and it were but to roast their Egges.
     1711 J. G               Ess. Pract. Eng. Gram. 163 Sometimes And is used for If: As, and you please, for, if you
           please.
     1916 Dialect Notes 4 285 And you go, I won't stay, nary a step!
     1936 K. M. M                Rain on Just 124 Whop me and you have to be whopping.
     1958 S. A. G         Hard Blue Sky 356 And he went slower..he go better.
     1975 E. S         in G. Cohen Comments on Etymol. (1990) 20 41 What you want with a woman, man And
          she can't rob and steal.



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                                                                                         2
  †b. With following if in same sense. Cf. an if at                conj. 8b,       conj.
  Obsolete.

     1482 N. K              Let. in Cely Lett. (1975) 145 Anodur tyme I shal be as glad to do you pleser and iff I kan.
     1523 L . B            tr. J. Froissart Cronycles I. xxviii. 41 He wolde haue had his right, and yf he wyst how.
     1526 Bible (Tyndale) Matt. vi. f. vijv For and yff ye shall forgeve other men there treaspases.
     1526 Bible (Tyndale) Matt. xxiv. f. xxxvv But and yf the evyll servaunt shall saye [so Cranm., Genev., 1611;
             Wycl. and Rhem. But if].
     1591 (▸?a1425) Adam & Eve (Huntington) in R. M. Lumiansky & D. Mill Chester Myst. Cycle (1974) I. 22
           We should dye iwys and if we touch that tree.
     c1600 (▸?c1395) Pierce Ploughman's Crede (Trin. Cambr. R.3.15) 17 Þerfor lerne þe byleue leuest me were
           And if any werldly wiȝt wille me couþe.
     a1616 S            Two Gentlemen of Verona (1623) . i. 75 A Sheepe doth very often stray, And if the
           Shepheard be awhile away.
     1673 R. A              Ladies Calling . §1. ⁋27 But and if on the other side they meet with one of too much
          sagacity.



  †14. Concessively: even if; although. Obsolete.

     c1400 (▸?c1380) Cleanness (1920) l. 864 And ȝe ar iolyf gentylmen your iapes ar ille.
     1444 in Paston Lett. & Papers (2004) II. 25 What so ever ye do..in my Maister Cleris name, he shall avowe it
           and it shulde coste hym gret parte of his good.
     c1475 (▸?c1400) Apol. Lollard Doctr. (1842) 40 And he was riche, he was mad nedy for vs.
     1526 Bible (Tyndale) Mark vi. f. liijv Thatt they myght touche and hit wer but the edge off hys vesture. [So
             Cranm., Genev.; Rhem. & 1611, If it were.]
     a1556 N. U          Ralph Roister Doister (?1566) . ii. sig. A.iiijv He shall goe without hir, and he were my
             brother.
     1657 T. W        Comment on Times 33 Religious they will be, and 't be but for the benefit they receive thereby.
     1685 Factious Citizen . 18 'Tis no matter, Mr. Turbulent, and it had been worse.



  †15. As if, as though. Obsolete.

     ?a1475 Ludus Coventriae (1922) 72 (MED) It is wel seyd, ȝe answere and ȝe were twenty ȝere olde.
     c1500 (▸?a1437) Kingis Quair (1939) clxi A maner smylyng make And sche were glad.
     1530 J. P             Lesclarcissement 690/1 He revyled me and I had ben a dogge.
     1600 S                 Midsummer Night's Dream . ii. 78 I will roare you, and 'twere any Nightingale.
     1609 S                 Troilus & Cressida . ii. 122 Oh he smiles valiant[l]y..Oh yes, and twere a clowd in
          Autumne.
     1623 J. W            Deuils Law-case . sig. L2 Harke, he knocks to be let out and he were mad.



  †16. Introducing an indirect question: if, whether. Obsolete (nonstandard
  or regional).


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     1600 S                  Midsummer Night's Dream . i. 192 To spy and I can heare my Thisbyes face.
     1601 B. J           Every Man in his Humor           . iv. sig. Hv To feele and there be any brayne in it.
     1602 B. J           Poetaster . ii. sig. B2v Aske him and he will clem mee.

  †B. adv.

    Also; even. Obsolete.

     OE (Northumbrian) Rushw. Gospels: John xii. 26 Ubi sum ego illic et minister meus erit : hwer am ic ðer &
          [OE Lindisf. æc] hera ðegn min bið.
     ▸ a1382 Bible (Wycliffite, E.V.) (Douce 369(1)) (1850) Wisd. xviii. 20 Thanne forsothe touchede and [a1425
           L.V. also] riȝtwismen [L. tetigit autem tunc et justos] the temptacioun of deth.
     ▸ c1384 Bible (Wycliffite, E.V.) (Douce 369(2)) (1850) John xv. 23 He that hatith me, hatith and [a1425 L.V.
           also] my fadir [L. Qui me odit, et patrem meum odit].
     ▸ c1449 R. P         Repressor (1860) 519 If thin answere now mad to my questiouns is good, and such
           thanne a lijk answere schal be good..to thi questioun.
     1558 B . T. W           Holsome Doctr. Seuen Sacramentes xvi. f. xcviiiv He that hath promysed pardone vnto
             vs, whensoeuer we conuerte, dothe not promise vnto vs longe lyfe and to lyue whyle to morowe.
     1607 (▸?a1425) Chester Plays (Harl. 2124) 137 Ye shall see and what somewhat I have in my sacke.
     1614 R. W           Jrnl. (1902) 114 Grant o God that and thrice so much may sett his maistie's estate..as it
          was at his happie coronacion.

   C. n.1

  1. An instance of the word ‘and’. Originally and chiefly in ifs and (also or)
  ands: expressions of condition or doubt. Similarly ifs, ands, or (also
  and) buts.
       Originally in sense A. 13, but now probably mostly understood as the ordinary sense of the word.


     [c1175 Names of Letters in N. R. Ker Catal. MSS containing Anglo-Saxon (1957) 337 Anglicę litterę Ƿ wen, Ð
           ðet, Þ þorn, 7 ⁊ and.]
     a1535 T. M         Hist. Richard III in Wks. (1557) 54/2 What quod the protectour thou seruest me I wene wt
             iffes & with andes.
     1613 N. B           Answer in Vncasing Machiuils Instr. G With ifs and ands he begins to say.
     1638 W. C                 Relig. Protestants . vii. §10. 395 Whence without all Ifs and Ands, that appeares
          sufficiently which I said in the beginning.
     1678 R. C               True Intellect. Syst. Universe . v. 723 Absolutely and without any Ifs and Ands.
     a1680 T. G              Wks. (1683) II.     . 444 The Grants of Grace run without Ifs, and_Ands, and Buts.
     1683 E. H       in J. Pordage Theologia Mystica Pref. Epist. 137 An absolute approbation..without any
          cautions, qualifications, ifs or ands.
     1748 E. P             Diary 30 May (1974) 177/1 I was ready to throw up the Precincts Votes without any Ifs and
          and's.
     1823 tr. J. L. H. Campan Memoirs Marie Antoinette (ed. 2) I. x. 259 Five different requests—such an office,
          or such a mark of distinction, or..and so on... The ors were changed into ands.
     1922 Ann. Amer. Acad. Polit. & Social Sci. 102 109/2 Without any ifs, ands or buts.
     1935 C. B     Diary in Self Portrait with Friends (1979) v. 43 There are no ifs and ands. If I live with a
          man I know so. There's no parti pris.

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      1995 Denver Post 27 Aug. 22/3 As with all these proposals, ifs, ands and buts abound.
      2000 High Country News 19 June 3/4 It will be a national priority to preserve these roadless areas as they
           are, no ifs, ands or buts about it.



   2. Computing and Electronics. A Boolean function of two or more variables
  that has the value unity (or true) if and only if each variable has this value;
  (also) a data search function of two or more terms that returns only data
  matching all the terms. Usually attributive and in capitals, esp. designating
  devices for realizing this function.

      [1938 C. E. S          in Trans. Amer. Inst. Electr. Engin. 57 718/1 There are many special types of relays
            and switches... The operation of all these types may be described with the words ‘or’, ‘and’, ‘if’,
            ‘operated’, and ‘not operated’.]
      1946 J. P. E      in Theory & Techniques Design Electronic Digital Computers (Univ. Pennsylvania) (1947)
           II. xv. 9 In an ‘and’ circuit, when an impulse A and an impulse B are received on a set of terminals, an
           output will be given.
      1960 M. G. S et al. Analogue & Digital Computers viii. 165 The ‘and’ and ‘or’ operations may be performed
           by the diode gates.
      1971 J. H. S   Digital Logic iv. 51 The AND function, like the OR, is used for simplifying circuit
            arrangements but does not form the basis for a complete logic system.
      1984 J. H      Choosing & using your Home Computer 51/1 Combinations of AND, OR and NOT allow all
           decisions based on conventional logic to be made.
      2005 S. E    & S. L         Legal Res. (ed. 13) xiii. 13/2 We encountered the most common and simplest
           Boolean command: the and command. If you enter two words in your search engine query box and
           separate them with an and, you are telling the search engine to pull up all documents that contain both
           words.




  C



   AND gate n. Computing and Electronics a circuit which produces an
  output only when signals are received simultaneously through all input
  connections.

      1959 Bell Syst. Techn. Jrnl. 38 50 The operation of the Laddic as an AND gate.
      1997 T3 Jan. 67/1 The           gate gives you the sum of the input and the   gate gives you the inverse of the sum.
      2003 T. C       Mech. Mind (ed. 2) iv. 145 The causal properties of the and-gate are those properties to which
           the machine is causally sensitive: the machine will output an electric current when and only when it takes
           electric currents from both inputs.




      This entry has been updated (OED Third Edition, June 2008).


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